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                                                                                E-FILED
                                                    Wednesday, 15 July, 2020 12:31:34 PM
                                                           Clerk, U.S. District Court, ILCD

              IN THE UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
             v.                        )      Case No. 19-cr-30067-2
                                       )
WILLIE HEDDEN,                         )      The Honorable
                                       )      Richard Mills,
                      Defendant.       )      United States
                                       )      District Judge, Presiding.

           DEFENDANT HEDDEN’S RESPONSE TO
  DEFENDANT ALEX BANTA’S THIRD MOTION TO CONTINUE
 THE PRESENTLY SCHEDULED PRE-TRIAL AND TRIAL DATES

        NOW COMES Defendant, WILLIE HEDDEN, by and through

his attorney, Mark Kevin Wykoff, Sr. of the Wykoff Law Office, LLC,

and responds as follows to Defendant Alex Banta’s Third Motion to

Continue the Presently Scheduled Pre-Trial and Trial Dates (d/e

#47):

        1.   On or about July 15, 2020, Defendant Alex Banta,

through counsel, filed a Third Motion to Continue the Presently

Scheduled Pre-Trial and Trial Dates (d/e #47).

        2.   Defendant, WILLIE HEDDEN, agrees with and joins with

Defendant Alex Banta that a continuance is appropriate and




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supported by the ends of justice and the public in a speedy trial. 18

U.S.C. § 3161(H)(8)(A).

     3.      Undersigned counsel has conferred with counsel for the

Government who poses no objection to the relief sought herein.

     WHEREFORE,         Defendant, WILLIE HEDDEN, respectfully

prays that this Honorable Court, for all of the reasons set forth

herein, continue his Pre-Trial and Trial Settings, and grant him any

and all other relief as this Honorable Court deems just and

equitable.

                                  Respectfully Submitted,

                                  WYKOFF LAW OFFICE, LLC

                       By:        /s `tÜ~ ^xä|Ç jç~Éyy? fÜA
                                  Mark Kevin Wykoff, Sr.
                                  Reg. No. 6292093
                                  Attorney for Defendant
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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

                   CERTIFICATE OF SERVICE

I hereby certify that on July 15, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

Mr. Timothy A. Bass, Esq.                    Mr. James E. Elmore, Esq.
Assistant U.S. Attorney                      808 South Second Street
U.S. Attorney’s Office                       Springfield, IL 62704
318 South Sixth Street
Springfield, IL 62701

Mr. Victor B. Yanz
Assistant U.S. Attorney
U.S. Attorney’s Office
318 South Sixth Street
Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:

Mr. Willie Hedden
415 Camden Road
Mt. Sterling, IL 62353

                                /s/`tÜ~ ^xä|Ç jç~Éyy? fÜA
                                Mark Kevin Wykoff, Sr.
                                Reg. No. 6292093
                                Attorney for Defendant
                                Wykoff Law Office, LLC
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